UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------x
ARCHIE MD, INC.,

     Plaintiff,                                                             16-cv-6614   (JSR)

            -v-

ELSEVIER,   INC.,

     Defendant.


JED S. RAKOFF, U.S.D.J.
                                        _____   .,.   -·---··-~-   ~·   -




     In this action, plaintiff Archie MD,                  Inc.             ("Archie") brings

suit against defendant Elsevier,   Inc.    ("Elsevier")                         alleging

infringement of its copyright in hundreds of 3-D medical animations

that it had previously licensed to Elsevier, breach of the parties'

license agreement, and misappropriation of its trade secrets. Both

parties move for summary judgment on the copyright infringement and

breach of contract claims, and defendant also moves for summary

judgment on plaintiff's trade secrets claim.                            In addition, defendant

moves to strike as untimely plaintiff's inclusion of 18 previously

unspecified animations in its copyright claim shortly before the

close of discovery. The Court now denies plaintiff's motion for

summary judgment in its entirety; grants defendant's motion for

summary judgment on plaintiff's contract claim and trade secrets

claim; grants defendant's motion for summary judgment on plaintiff's

infringement claim as to all animations except defendant's allegedly

derivative animations entitled "Blood Cell Formation" and "Types of

Blood Cells"; denies defendant's motion for summary judgment on

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plaintiff's infringement claim as to those two allegedly derivative

animations, but, as required, refers to the Copyright Office the

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plaintiff's animation that those two animations allegedly infringe

is valid; and denies as moot defendant's motion to strike.

        The pertinent facts,              undisputed except where indicated, are as

follows:

        Archie was founded in 2002 by Dr. Robert Levine, a board-

certified physician, who sought to create 3-D animations that

effectively convey complex medical concepts. Pl.'s Statement of

Undisputed Material Facts Pursuant to Local Rule 56.l                                        ("Pl.'s Rule

56.1 Stmt.")         ~~   1-4, ECF No. 38; Def. Elsevier's Local Rule 56.1

Statement of Material Facts Not in Dispute ("Def.'s Rule 56.l

Stmt.")       ~   1, ECF No. 32. 1 Over time, Archie built a catalog of

animations that depict human anatomy, the occurrence of diseases,

and medical treatments. Pl.'s Rule 56.1 Stmt.                                   ~    6; Def.'s Rule 56.l

Stmt.    ~    1. Archie licenses those animations to educational and

commercial entities. Def.'s Rule 56.1 Stmt.                                 ~   2.

        Elsevier is a publisher of textbooks and other materials in the

fields of medicine, health, and nursing. Pl.'s Rule 56.1 Stmt.                                           ~     9;

Def.'s Rule 56.1 Stmt.                ~   4. It provides students and instructors

with access to digital content, such as animations, through an




i All citations to the parties' Local Rule 56.1 Statements are
undisputed in relevant part, unless otherwise noted.
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online "learning management system" called "Evolve." Def.'s Rule

56.1 Stmt.    <l[   6.

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License Agreement                    ("ALA"), under which Archie granted Elsevier a

license to use its library of 3-D medical animations in connection

with Elsevier's publications. Pl.'s Rule 56.1 Stmt.                                                       <j[<j[   15-16; Def.'s

Rule 56.1 Stmt.             <j[<j[    17 2 ,    35. Over the next ten years, the parties

renewed the ALA twice,                         in 2008 and 2012, and supplemented it with

addenda granting Elsevier licenses to use additional animations that

Archie had produced.                       Pl.'s Rule 56.1 Stmt.                        <j[<j[   35-37,      39. In all,

Archie provided Elsevier with more than 1000 animations.                                                               Pl.'s Rule

56.1 Stmt. 'll 41.

     Elsevier used the Archie animations in e-books, online courses,

and online tests.                    Id.    In addition,                  certain textbooks published by

Elsevier allowed textbook users to view the animations online



2 Archie objected to several of Elsevier's proffered undisputed
facts, including this one, on the ground that the documents
supporting those facts (which were attached as exhibits to defense
counsel's declaration) were not properly authenticated. See Archie
MD, Inc.'s Obj. to the Deel. of David A. Munkittrick in Supp. of
Def. Elsevier, Inc.'s Mot. for Summ. J., ECF No. 51. However,
changes to the Federal Rules of Civil Procedure in 2010 eliminated
the requirement that evidence suppbrting a 56.1 statement must be
authenticated. See Akers v. Beal Bank, 845 F. Supp. 2d 238, 243
 (D.D.C.) ("[T]he 2010 amendments to Federal Rule of Civil Procedure
56 eliminated the unequivocal requirement that documents submitted
in support of a summary judgment motion must be authenticated."
 (internal quotation marks omitted)), aff'd, 2012 U.S. App. LEXIS
20594 (D.C. Cir. Oct. 2, 2012). Rather, such supporting evidence
must simply be in a form that, if authenticated, could be admissible
at trial. See Fed. R. Civ. P. 56(c) (2). Archie's objection based on
a purported failure to authenticate documents is therefore
overruled.

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through Evolve.         Id. Evolve, which is located at the web address

evolve.elsevier.com, provides access to multiple companion sites,



Inc.'s Resp. to Def. Elsevier,         Inc.'s Local Rule 56.1 Statement of

Material Facts Not in Dispute ("Pl.'s Rule 56.1 Resp.")               ~    12, ECF

No. 54; Def.'s Rule 56.1 Stmt.        ~   12.   When a student purchases one

of the textbooks for which there are accompanying animations, she

receives a code with which she may log in to Evolve and access the

textbook's companion site, which features animations and other

digital materials corresponding to the textbook.             Def.'s Rule 56.1

Stmt.    ~~   12, 13.

        On August 15, 2005, shortly after the parties had executed the

ALA, Archie submitted its first copyright registration, applying to

register the animations it had licensed to Elsevier as a collection

of unpublished works. Def.'s Rule 56.1 Stmt.           ~~   92,   94. During the

term of the ALA, Archie filed four additional registrations for

collections of unpublished works comprising animations that it had

previously delivered to Elsevier. Def.'s Rule 56.1 Stmt.                  ~~   97,   99,

102, 104, 108.3




3 Archie's five copyright registrations at issue here were registered
as follows:
     Human Patient Simulation Model was registered on August 15,
     2005 under registration number PAu2-985-274, Def.'s Rule 56.1
     Stmt. ~ 92.
     Human Patient Simulation Model 2 was registered on August 14,
     2006 under registration no. PAu3-118-099, id. ~ 99.
     Human Patient Simulation Model 3 was registered on February 3,
     2009 under registration no. PAu 3-381-192, id. ~ 102.

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             In June 2014, Elsevier notified Archie that it intended not to

renew the ALA, and the agreement terminated on July 1, 2015. Pl.'s

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Elsevier claims that it chose to end the agreement because Archie's

animations were no longer a good value, Archie asserts that Elsevier

intended to exploit the animations without paying for them.) To

replace Archie's animations, Elsevier decided to create its own, and

it hired a vendor, Trinity Animations                                          ("Trinity"), to help it do so.

Pl.'s Rule 56.l Stmt.                          ~   66; Def.'s Rule 56.1 Stmt.                                ~   169. Trinity

produced animations using multiple "references," including

textbooks, videos, and roughly 80 of Archie's animations that

Elsevier provided to it. Pl.'s Rule 56.1 Stmt.                                                   ~    69-70, 72; Def.'s

Rule 56.l Stmt.                 ~~     168, 172-73, 175-76. To date, Trinity has

produced 150 animations for Elsevier's use.                                               Pl.'s Rule 56.1 Stmt.                          ~


75. Since the termination of the ALA, Elsevier has removed some

Archie animations from Evolve,                                 Pl.'s Rule 56.l Stmt.                             ~     91, though

some such animations remain accessible,                                         Pl.'s Rule 56.1 Stmt.                              ~   63.

             Archie commenced this action on August 22, 2016, asserting

claims for:              (1)    copyright infringement, in violation of 17 U.S.C.                                                        §§


106 and 501;              (2) breach of contract; and (3) violation of the Defend

Trade Secrets Act,                     18 U.S.C.           §   1836. See Compl., ECF No. 1. With

regard to the first claim, the complaint alleged infringement of "at



             Human Patient Simulation Model 4 was registered on June 14,
             2012 under registration no. PAu 3-648-251, id. ~ 104.
             Human Patient Simulation Model 5 was registered on June 21,
             2014 under registration no. VAu 1-162-543, id. ~ 108.

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least 355 of Archie MD's copyrighted works" through Elsevier's use

of the works after the ALA expired on July 1, 2015, as well as the

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MD's copyrighted animations." Compl.                          ~   35. The complaint did not

list the specific animations that it alleged Elsevier was

infringing, except by way of example. Rather than move to dismiss

the complaint, Elsevier requested that Archie produce a list of the

allegedly derivative Elsevier animations and the Archie animations

that were allegedly infringed upon.                           In its disclosures pursuant to

Federal Rule of Civil Procedure 26(A) (1)                             and supplements thereto,

Archie ultimately provided a list of 515 Archie animations allegedly

still in use by Elsevier, as well as 58 allegedly derivative

Elsevier animations. Deel. of David A. Munkittrick in Supp. of Def.

E1 s e vier , Inc. ' s Mot . for S umm . J . dated Jan . 11 , 2 0 1 7 ( "Munk it trick

Deel. dated Jan. 11, 2017"), Ex. 2 at Ex. A, B, ECF No. 33.

       As noted, the parties cross-moved for summary judgment on

plaintiff's first two claims, and defendant also moved for summary

judgment on plaintiff's third claim. Under Rule 56(a) of the Federal

Rules of Civil Procedure, summary judgment is appropriate when the

"movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law."

Fed. R. Civ.          P. 56(a). The movant bears the burden of demonstrating

the absence of a genuine dispute of fact,                                  see Anderson v. Liberty

Lobby,     Inc.,      477 U.S. 242, 256           (1986), and, to award summary

judgment, the court must be able to find "after drawing all

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reasonable inferences in favor of a non-movant" that "no reasonable

trier of fact could find in favor of that party," Heublein,                                                          Inc. v.

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considered material "if it might affect the outcome of the suit

under the governing law," and a dispute of fact is deemed "genuine"

where "the evidence is such that a reasonable jury could return a

verdict for the nonmoving party." Holtz v. Rockefeller & Co., 258

F.3d 62,      69    (2d Cir. 2001)                   (internal quotation marks and citations

omitted)

       Turning first to Archie's claim for copyright infringement, to

prevail on such a claim a plaintiff must demonstrate "(1) ownership

of a valid copyright, and (2)                             copying of constituent elements of the

work that are original." Feist Publ'ns,                                      Inc., v. Rural Tel. Serv.

Co.,   499 U.S. 340, 361                     (1991). Elsevier argues at the outset that

Archie cannot maintain a copyright infringement claim because

Archie's copyrights for the animations at issue were not validly

registered. See 17 U.S.C.                        §    411(a); Whimsicality,                          Inc. v. Rubie's

Costume Co.,         Inc.,           891 F.2d 452,           453       (2d Cir. 1989)                    ("[P]roper

registration is a prerequisite to an action for infringement.")                                                           In

particular, it argues that Archie registered the animations as

collections of unpublished works after it had licensed the

animations to Elsevier and thereby published them. Archie disputes

that licensing its animations amounted to publishing them within the

meaning of the Copyright Act, and, even if it did, Archie argues

that such an error would not invalidate its registrations.

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     As it turns out, the Court need not rule on the validity of the

registrations,   for two reasons.   First, assuming the copyrights are



as to all but two of the many animations at issue. Second, with

respect to those two, the Court refers the issue of the validity of

applicable registrations to the Copyright Office pursuant to the

provisions of the Prioritizing Resources and Organization for

Intellectual Property Act of 2008     (the "PRO IP Act"). Each of these

points bears elaboration:

     As to the merits of the infringement claim, Archie alleges

infringement of its animations based on two theories: that Elsevier

continued to use Archie's animations after the termination of the

ALA and beyond the scope of the license provided therein, and that

Elsevier copied Archie's animations when it created its own

animations.

     With respect to the first of these theories, where "the

contested issue is the scope of a license, rather than the existence

of one, the copyright owner bears the burden of proving that the

defendant's copying was unauthorized under the license .              II




Graham v. James, 144 F.3d 229, 236       (2d Cir. 1998). "Copyright

disputes involving only the scope of the alleged infringer's license

present the court with a question that essentially is one of

contract: whether the parties' license agreement encompasses the

defendant's activities." Bourne v. Walt Disney Co.,       68 F.3d 621,     631

(2d Cir. 1995). Under New York law, which the parties agree governs

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the ALA,   see Pl.'s Rule 56.1 Stmt.       ~   34, "the best evidence of what

parties to a written agreement intend is what they say in their



and unambiguous must be enforced according to its terms." Keiler v.

Harlequin Enters. Ltd.,   751 F.3d 64,         68-69    (2d Cir. 2014)    (internal

citations omitted) . "A contract is unambiguous when the contractual

language has a definite and precise meaning about which there is no

reasonable basis for a difference of opinion," whereas "ambiguity

exists where a contract's term could objectively suggest more than

one meaning to one familiar with the customs and terminology of the

particular trade or business." Id. When parties dispute the meaning

of a contract clause, the court must consider the clause "in the

context of the entire agreement," and if "consideration of the

contract as a whole will remove the ambiguity created by a

particular clause, there is no ambiguity." Law Debenture Trust Co.

of N.Y. v. Maverick Tube Corp., 595 F.3d 458,              467   (2d Cir. 2010).

     Section 4.3 of the ALA provides that, upon the ALA's

termination, Elsevier "shall remove [the animations]               from

Publications in the form of electronically accessed websites or web

pages" upon the earlier of two dates:           (i)    "the date the content of

such website or webpage   (or any underlying companion print

Publication)   is updated or modified (other than de minimus [sic]              4


modifications)," and (ii) three years after termination. Deel. of



4  The correct spelling would be "de minimis." Black's Law Dictionary
( 1 Oth ed. 2 0 14 ) .
                                       9
Erin Ranahan in Supp. of Pl.'s Contentions in Mot. for Summ. J.

dated Jan. 11, 2017                                ("Ranahan Deel. dated Jan. 11, 2017"), Ex. 1 at

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provide access to Archie animations through Evolve after the ALA

terminated in July 2015. See Pl.'s Rule 56.1 Stmt.                                                      ~   87. They also

agree that some materials accessed through Evolve have undergone

changes that are not de minimis since that time. See id.                                                           ~   89. Thus,

what the parties dispute is primarily whether Evolve, as a whole, is

a "website" under                            §     4.3 of the ALA. If Evolve is such a website,

then the non-de-minimis changes to some of the materials on that

site would have triggered the obligation to remove all Archie

animations from Evolve, and Elsevier, by maintaining such animations

on Evolve, would have exceeded the bounds of the license agreement.

If Evolve is not such a website, then such a global obligation to

remove all Archie animations from Evolve would not exist.

               Archie contends that Evolve is a website as that term is

commonly defined. See Summit Health,                                             Inc. v. APS Healthcare

Bethesda,                   Inc.,     993 F. Supp. 2d 379, 390                        (S.D.N.Y. 2014)               ("Words and

phrases are to be given their plain and ordinary meaning, and New

York courts will commonly refer to dictionary definitions in order

to determine that meaning."). In support of this argument, it relies

on several dictionary definitions of a website, such as"' [a]

collection of thematically related, hyperlinked World Wide Web

services, mainly HTML documents, usually located on a specific Web

server and reachable through a URL assigned to the site.'" Droplets,

                                                                         10
Inc. v. E*trade Fin. Corp.,   939 F. Supp. 2d 336, 355   (S.D.N.Y. 2013)

(quoting McGraw-Hill Dictionary of Scientific and Technical



(viz., evolve.elsevier.com) and allows navigation through hyperlinks

to other web pages, Archie concludes that Evolve falls within that

definition.

     Elsevier, however, argues that "website" here has a special

meaning under the ALA, and particularly under§ 4.3, which in effect

defines Evolve not as a website, but rather as a "web portal"

through which textbook purchasers can access the specific companion

websites corresponding to their respective books. While Elsevier

also cites a dictionary definition, see Merriam-Webster's Collegiate

Dictionary (11th ed. 2003)    (defining a portal as "a site serving as

a guide or point of entry to the World Wide Web and usually

including a search engine or a collection of links to other sites

arranged especially by topic"), the primary textual basis for this

argument is the ALA's reference to "websites" and "web portals" as

distinct. Specifically, the preamble to the ALA describes

"Publications" as comprising, among many other things, Elsevier's

"websites, web portals and other informational products and

services." Ranahan Deel. dated Jan. 11, 2017, Ex. 1 at 1. If,

therefore, "websites" and "web portals" are distinct, Elsevier

argues, the former must refer only to the companion sites.     In turn,

§ 4.3 requires removal of animations from "Publications in the form

of electronically accessed websites or web pages" upon "the date the

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content of such website or webpage         (or any underlying companion

print Publication)" is substantially modified.        Id. at 5. Since



publication, Elsevier concludes that considering Evolve a website

under§ 4.3 would render the phrase "underlying companion print

Publication" meaningless.   Def. Elsevier,      Inc.'s Mem. of Law in Supp.

of its Mot. for Summ. J.    ("Def.'s Summ. J. Br.")     at 16, ECF No.    31.

     This textual argument dovetails with Elsevier's functional

analysis of§ 4.3's removal requirement. Elsevier argues that the

removal requirement only makes sense if a "website" is the companion

site to a print publication, since that reading allows Elsevier to

provide continued access to Archie animations corresponding to

existing Elsevier textbooks so long as those textbooks are in use

and are not revised.   For example,   if Evolve provides access to

Archie animations that accompany a nursing textbook, Elsevier should

not be required to remove access to those animations upon a revision

to a pharmacology textbook, or an update to the materials on Evolve

accompanying such a textbook. On this reading,        the three-year limit,

which applies if no non-de-minimis change has been made to a website

or companion print publication,   sets an outer bound on continued use

that approximates the usual life cycle of a textbook.

     A contrary reading, advanced by Archie, would require the

removal of all animations from Evolve as soon as any part of Evolve

underwent any non-de-minimis change. Elsevier argues that, given the

inevitability of changes to Elsevier's digital resources, Archie's

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reading would render the three-year clause a nullity,                          since it is

inconceivable that no substantial change to Evolve would occur in a

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is what§ 4.3's grant of a continued license appears designed to

prevent: the abrupt removal of all Archie animations from Evolve

upon termination of the ALA.

     Archie,      for its part, contends that Elsevier's reading would

effectively eliminate all but the three-year limit in Section 4.3,

since Elsevier's books are rarely revised but rather are "static."

Archie MD,     Inc.' s Opp. to Elsevier,                Inc.' s Mot. for Summ J.        ("Pl.' s

Summ. J. Opp.")         at 26, ECF No. 57. Yet, even assuming the truth of

that factual assertion (which is disputed, see Def. Elsevier,                             Inc.'s

Resp. to Pl. Archie's Statement of Additional Undisputed Material

Facts Pursuant to Local Rule 56.1                   ~   63, ECF No.      61), on Elsevier's

reading§ 4.3 would still require the removal of Archie animations

upon non-de-minimis changes to the companion websites.

      The Court is persuaded that, in the context of the entire ALA,

Evolve does not constitute a website subject to the removal

requirements of § 4.3. To hold otherwise would, as a practical

matter, render extraneous that section's three-year limit and

largely diminish the relevance of the explicit connection between

websites and companion print works. See LaSalle Bank N.A. v. Nomura

Asset Capital Corp.,            424 F.3d 195, 206          (2d Cir. 2005)       (noting that,

under New York law, a "contract should be construed so as to give

full meaning and effect to all of its provisions"                          (internal

                                                   13
quotation marks omitted)). Moreover, understanding Evolve as a web

portal   (rather than a website)       is consistent with the cited



reference to both websites and web portals.

     Since the Court finds the ALA unambiguous on this point, it

need not address extrinsic evidence of the parties' intent, see

Keiler, 751 F.3d at 69       ("New York law is well settled that a written

agreement that is complete and unambiguous is to be interpreted

without the aid of extrinsic evidence"), nor Archie's argument that

principles of contra proferentem weigh against Elsevier's reading,

cf. McCarth   v. Am.    Int'l     .'   283 F.3d 121, 124   (2d Cir. 2002)

(noting that under New York law the contra proferentem principle

requires "equivocal contract provisions" to be construed against the

drafter"). Thus, because the Court concludes that Evolve is not a

website under Section 4.3, Elsevier was not obligated to remove all

Archie animations from Evolve upon the first non-de-minimis change

to the materials thereon, and Elsevier's continued use of some

Archie animations is within the scope of the license, subject to the

requirements of   §   4.3.

     Although Archie does not explicitly argue in the alternative

that, even assuming Elsevier's interpretation of "website" is

correct, Elsevier has still violated the license granted by the ALA,

Archie does claim that Elsevier has failed to remove Archie

animations from companion sites following changes to those sites or




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their corresponding print materials, which could trigger an

obligation to remove Archie animations from those specific websites.

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textbooks were released and yet Archie animations were still

accessible on the companion sites corresponding to those textbooks'

prior editions. Mem. of Law in Supp. of Pl. Archie MD,                                                          Inc.'s Mot.

for Partial S umm. J.                  ( "Pl. ' s S umm.             J .       Br . " ) 14 -15 , EC F No . 3 7 . But

that in itself is not problematic if the editions are considered

distinct "print Publications" and have distinct companion websites,

as Elsevier maintains. Treating separate editions as distinct

publications is consistent with the logic of                                                §     4.3, since it would

make no more sense to deprive purchasers of a particular textbook

access to its accompanying animations when a new edition of that

textbook came out than it would to do so when a new edition of a

different textbook came out. While Archie claims that different

editions share the same companion website                                                   in which case the

issuance of a new edition would constitute a change to an

"underlying companion print Publication" of, and necessitate removal

of animations from,                  the shared companion site -- it does not

substantiate this assertion. Specifically, Archie claims that the

companion websites for the 16th and 17th editions of Clayton's Basic

Pharmacology for Nurses are located at the same web address, viz.,

evolve.elsevier.com/Clayton, and that the same is true for the

second and third editions of DeWit's Medical-Surgical Nursing, whose

shared companion site is purportedly located at

                                                                 15
evolve.elsevier.com/deWit/medsurg. See Pl.'s Rule 56.1 Stmt.                                                                          ~      93

(citing Ranahan Deel. dated Jan.                                            11, 2017, Ex.                59,    60,    71,      72). But

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the older edition of the textbook directing purchasers to the web

address in order to access online resources,                                                         see Ranahan Deel. dated

Jan 11, 2017 Ex. 71,                               72, and a more recent email identifying that

address as the new edition's "marketing URL," see id. Ex.                                                                    59,            60.

This evidence does not show that the editions'                                                           respective companion

materials were available at the same address at the same time.

           Additionally, Archie claims that an Elsevier animation replaced

an Archie animation on a companion website and yet the other Archie

animations on the companion website were not removed. See Pl.'s

Summ. J. Br. 15-16. Archie provides evidence that Elsevier added a

new animation to the companion site for the ninth edition of

Bonewit-West's Clinical Procedures for Medical Assistants while

Archie animations remained on the site. See Deel. of Dr. Robert

Levine dated Jan. 11, 2017                                    ("Levine Deel. dated Jan.                           11, 2017"), Ex.

11 Pt.             1 at 2-33, Ex.                    11 Pt. 2 at 2-19                     (showing that,              as of

September 29, 2016, the companion site contained Elsevier's

"Chemotherapy" animation along with 49 Archie animations),                                                                      ECF No.

39.s Elsevier does not dispute that it made this single addition, but



s Archie makes a similar but unsupported claim with regard to the
second Canadian edition of Jarvis's Physical Examination & Health
Assessment. Archie shows that, as of October 10, 2016, that book's
companion website featured notices indicating that new animations
were "coming soon," Levine Deel. dated Jan. 11, 2017, Ex. 31 at 14-
18, 46-47, but it fails to back up its claim that, by the fall of

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it insists that such a change is a "de minimus                                                   [sic] modification"

under § 4.3 and therefore does not trigger an obligation to remove

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Elsevier,                    Inc.'s Opp. to Archie MD,                       Inc.'s Mot. for Partial Summ. J.

("Def.'s Summ. J. Opp.") 22, ECF No. 50. "De minimis" may be defined

as "trifling," "negligible," or "so insignificant that a court may

overlook it in deciding an issue or case." Black's Law Dictionary

(lOth ed.               2014). Archie argues that the removal or addition of an

animation cannot constitute a de minimis modification, since such a

change is readily noticeable and since, if that change does not

prompt§ 4.3's removal obligations, it is not apparent what type of

change would. Yet even if that type of change might in some

instances result in a significant modification under § 4.3, the

scale here suggests that the change at issue was de minimis. The

addition of the Elsevier animation altered one of the fifty

animations available on the textbook's companion site, which also

included other resources besides animations. See Levine Deel. dated

Jan. 11, 2017, at Ex. 11 Pt. 1 at 2-33, Ex. 11 Pt. 2 at 2-19. Since

the addition of a single animation modifies only a minute fraction

of the materials on the companion site, the Court concludes that it




2016, "an Elsevier animation had replaced an Archie MD animation" on
that site, Pl.'s Summ. J. Br. 16 (citing Levine Deel. dated Jan. 11,
2017, Ex. 40 at ARCHIEMD 0003676), since a document with that Bates
Number is not contained in Exhibit 40 of the Levine Declaration. See
also Levine Deel. dated Jan. 11, 2017, Ex. 31 at 2-38 (providing
documents with Bates Numbers ARCHIEMD 0003643 through
ARCHIEMD 0003680 except for the document numbered ARCHIEMD 0003676)

                                                                        17
constitutes a de minimis modification under § 4.3 that does not

trigger removal obligations.



companion sites corresponding to Elsevier's textbooks, and because

Archie has not shown that Elsevier has made non-de-minimis changes

to those companion sites without removing the Archie animations

therefrom, Archie's claim for copyright infringement fails to the

extent it is based on Elsevier's continued use of Archie's

animations.

     The Court now turns to the other part of Archie's copyright

infringement claim, which is Archie's claim that Elsevier, through

Trinity, used Archie animations to create unauthorized derivative

works in the form of 58 Elsevier animations. See Munkittrick Deel.

dated Jan. 11, 2017 Ex. 2, Ex. Bat 1-4        (providing a list of 58

allegedly derivative Elsevier animations and the Archie animations

from which they were allegedly derived). To prove copyright

infringement based on the production of an unauthorized derivative

of a copyrighted work, a plaintiff must show "(a) that the defendant

had access to the copyrighted work and (b) the substantial

similarity of protectible material in the two works." Kregos v.

Associated Press,   3 F.3d 656,   662   (2d Cir. 1993). Since Elsevier does

not contest access for the purpose of this motion,       see Def.'s Summ.

J. Br. 19 n.12, the question is whether the 58 Elsevier animations

that Archie alleges are unauthorized derivatives are substantially

similar to Archie's animations.

                                        18
      Works are substantially similar if an "ordinary observer,

unless he set out to detect the disparities, would be disposed to

uvcLluu.K.    Ll1crn,   011u   LeyaLU   u1e   e1.e:::>LJ1eL_1_c   dfJfJed1-   a::>    LJ1e   ::same. -   rurrnan

Design,      Inc. v.     PAJ,    Inc., 262 F.3d 101, 111                  (2d Cir. 2001)

(internal quotation marks omitted).                      In other words, "the inquiry is

whether an average lay observer would recognize the alleged copy as

having been appropriated from the copyrighted work." Rogers v.

Koons,    960 F.2d 301, 307             (2d Cir. 1992)            (internal quotation marks

omitted) . That inquiry is "guided by comparing the contested

design's total concept and overall feel with that of the allegedly

infringed work, instructed by our good eyes and common sense." Peter

F. Gaito Architecture, LLC v. Simone Dev. Corp.,                                     602 F.3d 57, 66 (2d

Cir. 2010). The "inquiry necessarily focuses on whether the alleged

infringer has misappropriated the original way in which the author

has selected, coordinated, and arranged the elements of his or her

work." Id.       (internal quotation marks omitted).

      In addition, courts sometimes apply a "more discerning"

analysis in which they "attempt to extract the unprotectible

elements from [their] consideration and ask whether the protectible

elements, standing alone, are substantially similar." Knitwaves,

Inc. v. Lollytogs Ltd.             (Inc.), 71 F. 3d 996, 1002                        (2d Cir. 1995)

Several limitations on protectability are relevant here.                                          In

accordance with the "idea/expression dichotomy," "the similarity

between two works must concern the expression of ideas, not the

ideas themselves." Peter F. Gaito Architecture,                                 602 F.3d at 67.

                                                    19
Under the            sc~nes     ~   faire doctrine, "elements of an image that flow

naturally and necessarily from the choice of a given concept cannot

L!c   1_,la1-JLLCU   a;:,   UL1-y1-llal.--   JJ1-ll   U1-UUCILU   t"l!ULUYLCl_t.!lly,   LLG   v.   !\.dLe



Spade, LLC,            388 F. Supp. 2d 382, 392                   (S.D.N.Y. 2005). The merger

doctrine provides another limitation: an expression is not

protectable if a "given idea is inseparably tied to [that]

expression," since "rigorously protecting the expression would

confer a monopoly over the idea itself." 4 Melville B. Nimmer &

David Nimmer, Nimmer on Copyright                          §   13.03   (B)   (3) (a)    (2015); see also

N.Y. Mercantile Exch.,                  Inc. v. IntercontinentalExchange, Inc., 497

F.3d 109, 116-17                (2d Cir. 2007)          ("To ensure free access to ideas,

courts have applied the merger doctrine such that even expression is

not protected in those instances where there is only one or so few

ways of expressing an idea that protection of the expression would

effectively accord protection to the idea itself." (internal

quotation marks omitted)). Nonetheless, courts must still evaluate

the similarity of each work as a whole,                              rather than comparing only

the copyrightable elements of each. Peter F. Gaito Architecture,                                            602

F.3d at 66.

         While questions of substantial similarity "have traditionally

been reserved for the trier of fact," the Second Circuit has

"repeatedly recognized that, in certain circumstances, it is

entirely appropriate for a district court to resolve that question

as a matter of law,                  'either because the similarity between two works

concerns only non-copyrightable elements of the plaintiff's work, or

                                                          20
because no reasonable jury, properly instructed, could find that the

two works are substantially similar.'" Id. at 63                                               (quoting Warner

LiLU;:o,    1-l!L.   V •   .Klll.   LiLUOU.    <-,u;:,.,   fL.G   1:.2:.U   L:..l1-r   L'c!U   \LU   <._;_j__J_,   1-20..))).



           Given the large number of works here at issue, neither party

attempts to argue for or against the substantial similarity of each

alleged derivative to an Archie animation. Nevertheless, the Court

has very carefully reviewed all of the underlying animations and

finds that, except for the Elsevier animations entitled "Blood Cell

Formation" and "Types of Blood Cells," no reasonable factfinder

could find any of the other Elsevier animations here at issue to be

substantially similar to Archie's.

           This is largely because the similarities between Archie's and

Elsevier's respective animations predominately concern elements that

are not protectable. Much of the appearance of the animations flows

directly from the medical concepts that the animations seek to

convey. Both Archie and Elsevier attempted to make their animations

reflect anatomical relationships as accurately as possible. See

Def.'s Rule 56.1 Stmt.                    ~~     157, 179. The accurate depiction of an

anatomical structure cannot itself be protected expression, since,

as the merger doctrine dictates, no one may have a monopoly over the

expression of a concept such as anatomy. See Satava v. Lowry, 323

F.3d 805, 812               (9th Cir. 2003)                (holding that the plaintiff "may not

prevent others from copying elements of expression that nature

displays for all observers"). The same goes for the depiction of the

proper position and sequence of actions in a given medical

                                                              21
procedure, which, thankfully for patients everywhere, likewise

cannot be monopolized.



defendant's interrogatories involve the perspective from which the

animations show the subject. See, e.g., Munkittrick Deel. dated Jan.

11, 2017, Ex.   4 at 14   ("Both animations share the same perspective

showing the gallbladder from the upper left-hand side"); id. at 21

("Both animations begin with a male model seated upright and provide

a view of the model's left side"); id. at 25       ("The two animations

show the identical perspective. Both zoom into the body, and lead to

a zoomed in view of a capillary system."). Yet "similarities in

orientation and camera angle" may be "so general that they rise to

the level of unprotected ideas." Fulks v. Knowles-Carter, 2016 U.S.

Dist. LEXIS 123150, at *10     (S.D.N.Y. Sept. 11, 2016). Archie does

not allege that there is anything extraordinary about the angles

employed in the animations. Cf. Mannion v. Coors Brewing Co.,       377 F.

Supp. 2d 444,   455   (S.D.N.Y. 2005)   (holding that the "relatively

unusual angle" from which a photograph of a figure was taken

contributed to the originality of the composition). Especially in

this context, where a certain angle may be required to clearly

depict the relevant anatomy or step in a procedure, Archie cannot

show that its use of particular angles was original or unusually

deployed.

     Archie also identifies similarities in the backgrounds of

animations. See, e.g., Munkittrick Deel. dated Jan. 11, 2017, Ex. 4

                                        22
at 4 ("The Archie MD and Elsevier animations begin by depicting a

highly realistic setting of a Caucasian man being inserted into a CT

u\......JC.....t11111.._.._i_,   u.11Ll   Ll1L   LVUHL   wlll.. . .   LL..   Ll11...;   01.......-u11111...-L   -1.w   luGu.Lc:U   a.lu11y   wi.L..11   a


cabinet to its left, rather than demonstrating the process more

conceptually in a 3- D space.") ; id. at 1 7 ("The Archie MD animation

shows the relevant anatomy in 3-D space rather than within

the body. Elsevier mimics this decision."). But, of course, neither

the depiction of a figure in a realistic setting, such as an

examination room, nor one against a blank background is original to

Archie.

                    The amount of protectable expression is therefore limited.

Moreover, when considering the works as wholes, the differences

between them so overwhelm any similarities that the "total concept

and overall feel" of the Elsevier animations is markedly different

from that of the Archie animations. Peter F. Gaito Architecture,                                                                                            602

F.3d at 66. Elsevier's animations are generally brighter and feature

more vibrant colors than Archie's animations, many of which use dark

backgrounds and a muted palette of blues and grays. Compare

Munkittrick Deel. dated Jan. 11, 2017, Ex.                                                                             98 at 55, with id. at 56;

cf. Diodato,                              388 F. Supp. 2d at 393                                     (noting that the different

lighting of two photographs weighed against finding them

substantially similar). Elsevier's animations also depict lifelike

human figures that have realistic skin tones and appear to be

breathing, whereas the figures in Archie's animations are far less

lifelike across the board and in several cases resemble mannequins

                                                                                            23
of unnatural blue and silvery hues. Compare Munkittrick Deel. dated

Jan. 11, 2017, Ex.               98 at 13, with id. at 17. Individual components

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Elsevier's animations as well, as they appear more three-dimensional

and move more dynamically. Compare id. at 27, with id. at 28.                                                       In

sum, an ordinary observer would be quite unlikely to overlook the

dissimilarities between Archie's and Elsevier's respective

animations or to regard their aesthetic appeal as the same. See

Yurman Design,          262 F.3d at 111. Thus,                    the Court concludes that

Elsevier's animations identified supra are not substantially similar

to Archie's animations as a matter of law, and it grants defendant

summary judgment dismissing plaintiff's copyright claims based on

those animations.6

          However, a reasonable factfinder could conclude that the

Elsevier animations entitled "Blood Cell Formation," see Munkittrick

Deel. dated Jan. 11, 2017, Ex.                       99 at 26, and "Types of Blood Cells,"

see Munkittrick Deel. dated Jan. 11, 2017, Ex.                                            98 at 10, are

substantially similar to Archie's animation entitled "Cell

Differentiation," see id. at 9. Both Blood Cell formation and Cell

Differentiation initially depict an exposed bone and then zoom in on

that bone to present close up views of bone marrow,                                                on the left side

of the screen, and lymph tissue,                        on the right, with labels for each



6 Because the Court now dismisses Archie's copyright infringement
claim as it relates to the 18 Elsevier animations that Elsevier
alleges were untimely identified, the Court denies defendant's
motion to strike those animations as moot.

                                                         24
type of tissue in a blue header at the top of the screen. Compare

Munkittrick Deel. dated Jan. 11, 2017, Ex.                                 99 at 25 from 0:00 to

0;1:'),    w_l_Ll1   _l_u.   ctL   .2()   LLUllL   0;03   LU    O;Z:'"l.




Archie's Cell Differentiation                             Elsevier's Blood Cell Formation

          A single stem cell then appears at the top of the screen, and

from it come a dozen different types of cells, which spring forth in

exactly the same order and assume almost exactly the same positions

on the screen in each animation. Compare id. at 25 from 0:20 to

1:35, with id. at 26 from 0:27 to 1:27.




                                                          Megakaryocyte




                                                                                       Lymphocyte   Monocyte




Archie's Cell Differentiation                             Elsevier's Blood Cell Formation

          In contrast to the vast majority of the animations discussed

above,      in this instance most of the alleged similarity does not


                                                               25
arise merely from the subject matter itself. While the depiction of

cells and tissue are informed by underlying anatomy,                                                                the sequence in

Wl11-Cll    1.-llt:'   Clll1-lllctl-1-u11;:,   UC:::J:-11-<-L   Ll1c:::   u.L.L.Lc.L<.;llL1-uL1-u11   u.L   u       .:JL<.;lll   '-''-'ii   1-11Lu



different cells,                      and the arrangement of the resulting cells on the

screen, are not dependent on any biological process.                                                            7    Though Elsevier

contends that it based its animation in part on an image from a

textbook depicting stem cells and blood cells in a chart-like

organization,                  Def.'s Rule 56.l Stmt.                             ~   1136, the arrangement in that

image is different from the one shared by Elsevier's and Archie's

respective animations,                             see Munkittrick Deel. dated Jan.                                        11, 2017,

Ex.   83 at 9. Moreover,                           the general aesthetic differences between the

Archie and Elsevier animations are muted in this instance. While the

Elsevier animation is brighter and less static than the Archie

animation,               it does not,                 for example,                feature the lifelike human

models that give many Elsevier animations a starkly different

overall appearance from many Archie animations.

           Elsevier's animation entitled Types of Blood Cells -- which is

comparable to the second half of Cell Differentiation, whereas Blood

Cell Formation is comparable to the first half -- could reasonably

be found substantially similar as well,                                                for the same reasons.                                It too

mimics the arrangement of elements on the screen and,                                                                 to a lesser



7 Elsevier contests this conclusion in its brief by arguing that
displaying "the components of a stem cell in the same order and
location" is an "unprotectable and unoriginal idea[] that flows
naturally from the subject of blood cell formation," Def.'s Summ. J.
Br. 26, but, tellingly, does not explain why this is so or cite any
authority for that assertion.

                                                                            26
extent, the sequence in which cells move about the screen. Compare

Munkittrick Deel. dated Jan. 11, 2017, Ex.                                                     98 at 10 from 0:10 to

1 ;   ~   0'    w   l   L   h   l cl.   a L   ':I   _[ L urn   1 ; 4 0   L CJ   z ; :J 3   •




Archie's Cell Differentiation                                             Elsevier's Types of Blood Cells

               The Court therefore concludes that there are disputed questions

of material fact as to whether the animations Blood Cell Formation

and Types of Blood Cells are substantially similar to Archie's

animation Cell Differentiation. Accordingly, the Court must now

address Elsevier's argument that Archie cannot proceed with its

copyright claim because it lacks valid copyright registrations

covering the two remaining animations at issue here.

               As noted above, Elsevier contends that the relevant

registrations are invalid because Archie registered its animations

as collections of unpublished works when in fact it had previously

published the works by licensing them to Elsevier. See Family Dollar

Stores,                 Inc. v. United Fabrics International,                                    Inc.,       896 F. Supp. 2d

223, 230                    (S.D.N.Y. 2012)                    ("[A] published design included in an

unpublished collection copyright registration application cannot be

registered as part of the collection."); 17 U.S.C.                                                       §    101 ("The

                                                                                27
offering to distribute copies or phonorecords to a group of persons

for purposes of further distribution, public performance, or public



       The PRO IP Act, an amendment to the Copyright Act, provides

that one may bring a claim for copyright infringement, "regardless

of whether the certificate contains any inaccurate information,

unless--   (A)   the inaccurate information was included on the

application for copyright registration with knowledge that it was

inaccurate; and (B)     the inaccuracy of the information,   if known,

would have caused the Register of Copyrights to refuse

registration." 17 U.S.C. § 4ll(b) (1). It further provides that,

"[i]n any case in which inaccurate information described under [§

411 (b) (1)]   is alleged, the court shall request the Register of

Copyrights to advise the court whether the inaccurate information,

if known, would have caused the Register of Copyrights to refuse

registration." § 411 (b) (2)   (emphasis added). Though § 411 (b) (2) 's

referral provision is rarely invoked, district courts have held that

it is "mandatory in nature," Palmer/Kane LLC v. Rosen Book Works,

LLC,   188 F. Supp. 3d 347, 348   (S.D.N.Y. 2016)   (collecting cases),

and the Seventh Circuit has found that a district court's

invalidation of a copyright registration without following the

procedure mandated by§ 4ll(b) (2)     constituted legal error,

DeliverMed Holdings, LLC v. Schaltenbrand, 734 F.3d 616,       623   (7th

Cir. 2013).




                                     28
     By its terms, § 411(b) (2) applies here. Elsevier has alleged

"inaccurate information described under"§ 4ll(b) (1),      specifically,

Ll1aL Archie failed   to state ln its registration forms   that it had

previously published the works in the collections it sought to

register. Def.'s Summ. J. Br. 10-13. Elsevier nonetheless argues

that the PRO IP Act is inapplicable because the Act "solely concerns

technical and minor errors with copyright registrations," whereas

the error alleged here is material. Family Dollar, 896 F. Supp. 2d

at 233. However,   Family Dollar's discussion of the PRO IP Act does

not bear directly on the analysis here, as the court there did not

discuss the referral provision of§ 4ll(b) (2). Rather, it addressed

whether the error in a registration application was merely

technical,   in which case a showing of fraud on the Copyright Office

would be required to invalidate the registration, or whether the

error was material,   in which case that requirement would not apply.

Id. at 231, 233. Though the court, in the course of finding the

defect material, did conclude that the inclusion of thirteen

published designs with six unpublished designs in a registration for

a collection of unpublished works was "not a minor technical error"

and "would have clearly caused the Register of Copyrights to refuse

to issue a registration," id. at 233, making that determination is

not the province of the district court when it comes to applying the

referral provision of§ 4ll(b) (2). In DeliverMed, the Seventh

Circuit decided that the district court should not have "relied upon

its own speculation that" the Copyright Office would have refused

                                    29
registration had it known of the inaccurate information in the

application.        734 F.3d at 624. Even though,                 in that case, "[t]he

uL::JLL.icL   cuuLL' ::>   Lea::>ur1..Lrn:J   ::seemLeOJ   cons..LsLenL WlLn Lne Kegister' s

practice," nevertheless,                 "under section 411(b) (2), a court still

must request a response from the Register before coming to a

conclusion as to the materiality of a particular misrepresentation."

Id.

        Accordingly,        the Court hereby requests the Register of

Copyrights to advise the Court whether the fact that Archie had

previously licensed its animations to Elsevier before applying to

register them in a collection of unpublished works would have caused

the Register to refuse registration of the collection including

Archie's animation entitled Cellular Differentiation.

        Turning now to the second cause of action,                      for breach of

contract, Archie claims that Elsevier breached several provisions of

the ALA: specifically, that Elsevier's continued use of Archie's

animations on Evolve violated the removal requirement in§ 4.3, and

that Elsevier's providing of Archie's animations to Trinity as

references violated the confidentiality provisions in § 6 and the

prohibition on providing works for third party use in § 1.2.

        The allegation of a breach of § 4.3 fails for the reasons

identified previously: Elsevier's continued use of Archie's

animations on Evolve was within the scope of the license granted by

the ALA. Yet even if that were not the case, this claim would still

fail,    as it is preempted by the Copyright Act. The Copyright Act

                                                      30
expressly preempts a state law claim "if (i) the work at issue

'come[s] within the subject matter of copyright' and (ii) the right

0cl11y    c.L:::;;:;;e.r:Leu   l;:::;   'eyulvctlenL   Lu   ctny   or   LDe exclusive rights within

the general scope of copyright.'" Forest Park Pictures v. Universal

Television Network,                       Inc.,    683 F.3d 424,        429    (2d Cir. 2012)   (quoting

17 U.S.C.          §   301(b)). Thus,              for the state law claim to be preempted,

it "must not include any extra elements that make it qualitatively

different from a copyright infringement claim." Briarpatch Ltd., L.P

v.   Phoenix Pictures,                     Inc.,   373 F.3d 296,         305    (2d Cir. 2004). "To

determine whether a claim is qualitatively different,                                    [courts] look

at what the plaintiff seeks to protect, the theories in which the

matter is thought to be protected and the rights sought to be

enforced." Id. at 306 (internal quotation marks and alterations

omitted). Here, it is indisputable that Archie's contract claim in

this regard relates to copyrightable works, thus satisfying the

first criterion. And the claim concerns the same rights that

copyright law protects, viz., the ability to exclude others from

distributing or reproducing copyrighted works without authorization,

so the second criterion is satisfied as well.

         Archie attempts to avoid this conclusion with a citation to

Second Circuit authority stating that "[a] claim for breach of a

contract including a promise to pay is qualitatively different from

a suit to vindicate a right included in the Copyright Act and is not

subject to preemption." Forest Park Pictures,                                   683 F.3d at 433. But

that case addressed different circumstances. There, copyright

                                                            31
holders disclosed their work to the defendant and, after the

defendant appeared to use that work without seeking authorization or

paying them, sought to recover on an implied-in-fact contract. Id.

at 428. In other words,   rather than seeking to bar others from using

their work, they sought to be paid for such use.       In contrast, while

Archie had previously been paid for use of its works during the term

of the ALA, there is no remaining "promise to pay," and Archie

simply seeks to prevent Elsevier from further use,      ~,     to enforce

its exclusive right to the works in question.

     This same preemption analysis applies to Archie's claim that

the provision of animations to Trinity violated    §   1.2 of the ALA,s

under which Elsevier agreed "not [to] permit the use of the

[animations] by any third party other than pursuant to" the license

conferred by the ALA. Ranahan Deel. dated Jan. 11, 2017, Ex. 1 at 2.

This claim also regards copyrighted works, and the right Archie

asserts again comes down to the control of the reproduction and use

of those works.

     While Archie's breach of contract claim based on the disclosure

of confidential information may not be preempted, see Gusler v.

Fischer, 580 F. Supp. 2d 309, 319 (S.D.N.Y. 2008)       ("Common law

claims involving trade secrets or breach of confidentiality can be

different in kind from copyright infringement and are not



8 Elsevier protests that this claim was raised for the first time in
Archie's motion for summary judgment, since the Complaint makes no
mention of a violation of § 1.2, but in any case that objection is
immaterial because the claim is preempted.

                                   32
necessarily preempted by Section 301 of the Copyright Act."), it

nonetheless fails on the merits. Under§ 6 of the ALA, "[e]ach Party

o.gree:s   Lo   l!uld in con:ridence any and all contidential intormation

disclosed to it." Ranahan Deel. dated Jan. 11, 2017, Ex. 1 at 7.

However, "confidential information" does not include any information

received by a party that "[is] now or [will]        later become generally

available to the public through no fault of the receiving Party."

Id. at 7-8. Since the Archie animations were available to anyone who

was willing to purchase an Elsevier product, they are excluded from

the definition of confidential information by the plain text of the

ALA. And,       since this is the case, Archie's proffered evidence of

Elsevier's awareness during negotiation of the ALA that Archie

sought to protect the confidentiality of its animations, see Pl.'s

Summ. J. Opp.       33, is not relevant. Keiler v. Harlequin Enters. Ltd.,

751 F.3d 64,       69   (2d Cir. 2014).

       Plaintiff's third claim is brought under the Defend Trade

Secrets Act       ("DTSA"), which allows the owner of a trade secret to

bring a civil action for the misappropriation of that secret. 18

U.S.C. § 1836(b) (1). Here, Archie claims that its animations

constitute trade secrets and that Elsevier violated the DTSA by

disclosing them. Under the DTSA,

      [T]he term 'trade secret' means all forms and types of
      financial, business, scientific, technical, economic, or
      engineering information, including patterns, plans,
      compilations, program devices, formulas, designs, prototypes,
      methods, techniques, processes, procedures, programs, or codes,
      whether tangible or intangible, and whether or how stored,



                                          33
        compiled, or memorialized physically, electronically,
        graphically, photographically, or in writing if -

           (A)   the owner thereof has taken reasonable measures to keep
                 ;::>UL-11   _l_11.CU.LlllOL1-UJJ   ;:iec.LeL;   dllU

           (B)   the information derives independent economic value,
                 actual or potential, from not being generally known to,
                 and not being readily ascertainable through proper
                 means by, another person who can obtain economic value
                 from the disclosure or use of the information.

§   1839(3). It is clear that Archie's animations, as products that

Archie licensed and that were eventually distributed to consumers,

do not constitute trade secrets. See Lehman v.                           Dow Jones & Co.,

Inc.,    783 F.2d 285,          298     (2d Cir. 1986)            (finding that information

that plaintiff provided to defendant "[did] not fall within even the

broadest definition of a trade secret" because "the information at

issue [t]here was not used to run [plaintiff's] business but was its

product: like the car that rolls off the production line, this

information was what              [plaintiff] had to sell"               (emphasis in

original)). That the ALA contains an acknowledgement that

confidential information exchanged by the parties is a "valuable

trade secret" of its owner,                    Pl.'s Rule 56.1 Stmt.        ~   31, does not

change the definition of a trade secret under the DTSA.

        Moreover, Archie has not "taken reasonable measures to keep

such information secret." 18 U.S.C. § 1839(3) (A). While Archie

attempts to argue that its animations were closely guarded and only

made available to certain users,                        it admits that anyone in the world

-- including one of Archie's competitors -- could purchase an

Elsevier textbook and access the corresponding Archie animations.



                                                         34
Def.'s Rule 56.1 Stmt.                   ~~     125, 126 (citing Munkittrick Deel. dated

Jan. 11, 2017, Ex.                  8 at 132: 8-21). Accordingly, the Court finds that

l\"-'-'Ll'-''   o   uulrnuLlvr1CJ   Jv   11vL   Gu11;:,L_i_LuLe   LLci.\.le   ::secreL:s   U!lCleL   Lile   UT.::::iA


and therefore Elsevier is entitled to summary judgment on this

claim.

          In sum,        for the foregoing reasons, the Court denies plaintiff's

motion for partial summary judgment, grants in part and denies in

part defendant's motion for summary judgment, and denies defendant's

motion to strike as moot. In particular, the Court awards Elsevier

summary judgment dismissing Archie's claims for breach of contract,

violation of the DTSA, and copyright infringement as to all of the

animations at issue except for the allegedly derivative animations

entitled Blood Cell Formation and Types of Blood Cells. The Court

denies Elsevier summary judgment as to the copyright infringement

claim as to those animations and requests that the Register of

Copyrights advise the Court whether it would have refused

registration of the collection of works containing Archie's

animation Cell Differentiation. The Clerk of the Court is directed

to close document numbers 29 and 30 on the docket of this case.

          SO ORDERED.

Dated:               New York, NY
                     March -13_, 2017                                          ~A~S.D.J.


                                                          35
